                      Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                             Page 1 of 64 PageID 1
JS 44 (Rev. 10/20) - VEND (10/20)                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                        Natural State Laboratories, LLC, Natural State Geonomics, LLC,
           Business Advisors MD, LLC
                                                                                                        and see the attachment listing all of the remaining Defendants,
      (b) County of Residence of First Listed Plaintiff Dallas County, TX                               County of Residence of First Listed Defendant Pulaski County, AR
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                             (TN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                THE TRACT OF LAND INVOLVED.

      (C) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
           Jamie Welton and Lucas Wohlford,                                                             Thomas S. Brandon, Jr. and John Allen Chalk, Whitaker Chalk
           Duane Morris, LLP (address information is on the attachment)                                 Swindle & Schwartz (address information is on the attachment)
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ''.X" in One Box for Plainnff
                                                                                                    (For Diversity Cases Only)                                       and One Box for Defendant)
DI      U.S. Government             p3 Federal Question                                                                        PTF DEF                                                  PIE DEF
           Plaintiff                         (U.S. Government Not a Party)                     Citizen of This State           01           0I Incorporated or Principal Place          0 4 04
                                                                                                                                                    of Business In This State

0 2 U.S. Government                 0 4 Diversity                                             Citizen of Another State         D2           ri 2    Incorporated and Principal Place     El 5 El 5
         Defendant                         (indicate Citizenship of Parties in Item BB                                                                of Business In Another State

                                                                                              Citizen or Subject of a                 3         3   Foreign Nation                      0 6 0 6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                 Click here for: Nature of S lit Code Descriptions.
            CONTRACT                                       TORTS                                 FORFEITURE/PEKALTY                          BANKRUPTCY                      OTHER STATUTES           I
—                                                                                                                            _
                                                                   PERSONAL INJURY D625 Drug Related Seizure
 —
   110 Insurance
 — 120 Marine
 — 130 Miller Act
                                     PERSONAL INJURY
                                 ] 310 Airplane
                                     315 Airplane Product
                                                                III
                                                                  365 Personal Injury -
                                                                       Product Liability
                                                                                                   of Property 21 USC 881
                                                                                           ] 690 Other
                                                                                                                              — 422 Appeal 28 USC 158
                                                                                                                                  423 Withdrawal
                                                                                                                                      28 USC 157
                                                                                                                                                            ] 375 False Claims Act
                                                                                                                                                                376 Qtti Tarn (31 USC
                                                                                                                                                                     3729(a))
                                                                                                                                                            _
   140 Negotiable Instrument              Liability            0 367 Health Card                                                                                400 State Reapportionment
   150 Recovery of Overpayment 1 320 Assault, Libel &                 Pharmaceutical                                             PROPERTY RIGHTS                410 Antitrust
       & Enforcement ofJudgment           Slander                     Personal Injury                                        • 820 Copyrights               _ 430 Banks and Banking
• 151 Medicare Act
• 152 Recovery of Defaulted
       Student Loans
                                 1 330 Federal Employers'
                                          Liability
                                     340 Marine
                                                                      Product Liability
                                                               • 368 Asbestos Personal
                                                                       Injury Product
                                                                                                                                      III
                                                                                                                             • 830 Patent
                                                                                                                                 835 Patent - Abbreviated
                                                                                                                                                                450 Commerce
                                                                                                                                                            = 460 Deportation
                                                                                                                                      New Drug Application _ 470 Racketeer Influenced and
       (Excludes Veterans)       ] 345 Marine Product                  Liability                                             • 840 Trademark                        Corrupt Organizations
• 153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                       LABOR                • 880 Defend Trade Secrets 1 480 Consumer Credit
       of Veteran's Benefits
• 160 Stockholders' Suits
0 190 Other Contract
                                     350 Motor Vehicle
                                 ] 355 Motor Vehicle
                                         Product Liability
                                                               111
                                                               • 370 Other Fraud
                                                                  371 Truth in Lending
                                                                                           n710 Fair Labor Standards
                                                                                                  Act
                                                                                           :720 Labor/Management
                                                                                                                                      Act of 2016                    (15 USC 1681 or 1692)
                                                                                                                                                           0 485 Telephone Consumer
                                                               • 380 Other Personal                                               SOCIAL.SECURII'Y                   Protection Act

III
• 195 Contract Product Liability 1 360 Other Personal
   196 Franchise                         Injury
                                 ] 362 Personal Injury -
                                                                      Property Damage
                                                               • 385 Property Damage
                                                                      Product Liability
                                                                                                   Relations
                                                                                           1740 Railway Labor Act
                                                                                           1751
                                                                                           -    Family and Medical
                                                                                                                              — 861 HIA (1395ff)
                                                                                                                              —
                                                                                                                              _ 862 Black Lung (923)
                                                                                                                              —       DIWC/DIWW (405(g)) _
                                                                                                                                                                490 Cable/Sat TV
                                                                                                                                                                850 Securities/Cotrunodities/
                                                                                                                                                                     Exchange
                                         Medical Malpractice                                       Leave Act                      864 SSID Title XVI       ,.=
                                                                                                                                                            _ 890 Other Statutory Actions
       REAL PROPERTY                   CIVIL RIGHTS             PRISONER PETITIONS j 790 Other Labor Litigation              0 865 RSI (405(g))            -— 891 Agricultural Acts
11210 Land Condemnation          _I 440 Other Civil Rights        Habeas Corpus:           :791 Employee Retirement                                            893 Environmental Matters
• 220 Foreclosure                    441 Voting                — 463 Alien Detainee
                                                               —                                  Income Security Act            FEDERAL TAX SUITS              895 Freedom of Information
— 230 Rent Lease & Ejectment     ] 442 Employment                     Motions to Vacate
                                                                  510 Motio                                                  • 870 Taxes (U.S. Plaintiff            Act
—
— 240 Torts to Land
   245 Tort Product Liability
• 290 All Other Real Property
                                     443 Housing/
                                         Accommodations
                                                                      Sentence
                                                               0 530 General
                                 1 445 Amer. w/Disabilities - ] 535 Death Penalty                _IMMIGRATION
                                                                                                                                      III
                                                                                                                                      or Defendant)
                                                                                                                                 871 IRS—Third Party
                                                                                                                                       26 USC 7609
                                                                                                                                                           ] 896 Arbitration
                                                                                                                                                                899 Administrative Procedure
                                                                                                                                                                    Act/Review or Appeal of
                                      Employment               _ Other:                       462 Naturalization Application'                                       Agency Decision
                                 1 446 Amer. w/Disabilities - _ 540 Mandamus & Other ]465 Other Immigration                                                D 950 Constitutionality of
                                         Other                 —      Civil Rights                Actions                                                           State Statutes
                                 D 448 Education                  555 Prison Condition
                                                               — 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an "X" in One Box Only)
El Original             0 2 Removed from                   3 Remanded from               D
                                                                                         4 Reinstated or         5 Transferred from O 6 Multidistrict                    8 Multidistrict
        Proceeding            State Court                      Appellate Court                Reopened                   Another District                 Litigation -                 Litigation -

                                                                                                                         (specifii)                       Transfer                     Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      28 U.S.C. Sec. 1446(a) and 1332 (a)
VI. CAUSE OF ACTION Brief description of cause:
                      Breach of contract action in which the dispute concerns a claim in excess of $75,000.
VII. REQUESTED IN    CI CHECK IF THIS IS A CLASS ACTION          DEMAND $                      CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.               $2,084,300.00                 JURY DEMAND:         El Yes 0 No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE  N/A                                     DOCKET NUMBER
DATE                                                         latTATURE OF ATTORNEY OF RTH
Jun 18, 2021                                                                 qvu-iay
FOR OFFICE USE ONLY
                                                                                                       I
      RECEIPT                  AMOUNT                                  APPLYING IF?                                    JUDGE                               MAG. JUDGE
   Case 3:21-cv-01451-BK Document 1 Filed 06/18/21      Page 2 of 64 PageID 2



                          Attachment to Civil Cover Sheet

Plaintiff's attorneys:

Jamie Welton, email: jrwelton@duanemorris.com
Lucas Wohlford, email: lcwohlford@duanemorris.com
DUANE MORRIS, LLP
100 Crescent Dr., Suite 1200
Dallas, TX 75201
Telephone: 214-257-7200
Facsimile: 214-257-7201


Named Defendants:
Natural State Laboratories, LLC,
Natural State Genomics, LLC,
Stephen Harrison,
Jeffrey Weeks
Timothy Miller
Sharon Miller
Joseph Miller
Provence23, LLC, and
SB Holdings, LLC

Defendants' Attorneys:

Thomas S. Brandon, Jr., email: tbrandon@whitakerchalk.com
John Allen Chalk, email: jchalk@whitakerchalk.com
WHITAKER CHALK SWINDLE & SCHWARTZ PLLC
301 Commerce St., Ste. 3500
Fort Worth, TX 76102
Phone: 817-878-0500
Fax: 817-878-0501
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Supplemental Civil Cover Sheet
Page 1 of 2

                       Supplemental Civil Cover Sheet for Cases Removed
                                      From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk's Office. Additional sheets may be used as necessary.



    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                              Case Number
         14th Judicial District Court of Dallas County, Texas    DC-21-06287


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                       Party and Party Type                                          Attorney(s)
         Business Advisors MD, LLC -- Plaintiff                   Plaintiff: Jamie R. Welton and Lucas C. Wohlford
         All Defendants: Natural State Laboratories, LLC, Natural All Defendants are represented by: Thomas S.
         State Geonomics, LLC, Stephen Harrison, Jeffrey          Brandon, Jr. and John Allen Chalk
         Weeks, Timothy Miller, Sharon Miller, Joseph Miller,
         Provence23, LLC and SB Holdings, LLC


    3. Jury Demand:

        Was a Jury Demand made in State Court?                  ri   Yes                      No
                 If "Yes," by which party and on what date?


                 Party                                                       Date
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Supplemental Civil Cover Sheet
Page 2 of 2

    4. Answer:

        Was an Answer made in State Court?           Yes                  n No
                 If "Yes," by which party and on what date?

                     Defendants                                        June 17, 2021
                 Party                                                Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                                                    Reason(s) for No Service
        None                                          N/A




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                  Party                                        Reason
        None.




   7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                  Party                                        Claim(s)
         Plaintiff                                   Plaintiff has sued for breach of contract and recovery of
                                                     damages and attorneys' fees. Plaintiff has also sued for
                                                     Quantum Meruit and recovery of attorneys' fees.
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 BUSINESS ADVISORS MD, LLC,                   §
                                              §
         Plaintiff,                           §
                                              §
 v.                                           §
                                              §   DISTRICT COURT CASE
 NATURAL STATE LABORATORIES,                  §
 LLC, NATURAL STATE GENOMICS,                 §   NO. 3:21-cv-1451
 LLC, STEPHEN HARRISON, JEFFREY               §
 WEEKS, TIMOTHY MILLER, SHARON                §
 MILLER, JOSEPH MILLER,                       §
 PROVENCE23, LLC, AND SB                      §
 HOLDINGS, LLC,                               §
                                              §
         Defendants.                          §

                                   NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Now come Defendants, Natural State Laboratories, LLC (also referred to herein as

“NSL”), Natural State Genomics, LLC (also referred to herein as “NSG”), Stephen

Harrison, Jeffrey Weeks, Timothy Miller, Sharon Miller, Joseph Miller, Provence23, LLC,

and SB Holdings, LLC (all of whom are collectively referred to herein as “Defendants”)

and file this Notice of Removal pursuant to 28 U.S.C. § 1446(a), and, in support thereof,

would show the Court the following:

                                          A. INTRODUCTION

        1. Plaintiff is Business Advisors MD, LLC.

        2. All Defendants named in this action include: Natural State Laboratories, LLC

           (also referred to herein as “NSL”), Natural State Genomics, LLC (also referred



DEFENDANTS’ NOTICE OF REMOVAL -– PAGE 1
DM#528321
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           to herein as “NSG”), Stephen Harrison, Jeffrey Weeks, Timothy Miller, Sharon

           Miller, Joseph Miller, Provence23, LLC, and SB Holdings, LLC.

       3. On May 17, 2021, Plaintiff filed its lawsuit against the named Defendants suing

           them for claims of breach of contract (for recovery of damages and attorneys’

           fees) and, in the alternative, for Quantum Meruit (for damages). The lawsuit

           was filed in the 14th Judicial District Court of Dallas County, Texas and was

           assigned the number of DC-21-06287. The service of process was prepared and

           issued on May 19, 2021 by the offices of the Clerk of the District Courts of

           Dallas County, Texas.

       4. The following named Defendants:        Natural State Laboratories, LLC (also

           referred to herein as “NSL”), Natural State Genomics, LLC (also referred to

           herein as “NSG”), Provence23, LLC, and SB Holdings, LLC were served with

           process when the Texas Secretary of State was served on May 27, 2021 on behalf

           of those Defendants. None of the five individually named Defendants was

           served with process prior to May 27, 2021. Therefore, the Defendants file this

           Notice of Removal within the 30-day time period required by 28 U.S.C. §

           1446(b)(1).

                                      B. BASIS FOR REMOVAL

       5. Removal to this Court is proper because there is a complete diversity of

           citizenship between the parties. 28 U.S.C. §1332(a).




DEFENDANTS’ NOTICE OF REMOVAL -– PAGE 2
DM#528321
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       6. Plaintiff is a citizen of the State of Texas as it was created under the laws of

           Texas and has its principal place of business in Texas as stated in ¶ 5, page 2 of

           the Plaintiff’s Original Petition (a copy of which is attached hereto).

       7. Each and every Defendant is a citizen of the State of Arkansas. Plaintiff

           acknowledges this complete diversity in ¶¶ numbered 6 – 14, pages 2 – 4 of

           Plaintiff’s Original Petition. Plaintiff acknowledges in those paragraphs that

           each entity Defendant was created under the laws of the State of Arkansas and

           maintains its principal place of business in Arkansas.            Further, Plaintiff

           acknowledges that each of the five named individual Defendants are citizens of

           the State of Arkansas.

       8. Additionally, the amount in controversy exceeds $75,000, excluding interest and

           costs. 28 U.S.C. §1332(a). Specifically, the Plaintiff alleges that one Defendant,

           Natural State Genomics, LLC, and its owner are indebted to the Plaintiff in the

           amount of at least $2,084,300.00, plus late fees. (See, Plaintiff’s Original

           Petition, page 8, ¶ 38, attached hereto). In addition to the damages alleged, the

           Plaintiff is suing Defendants for recovery of its attorneys’ fees.

       9. All Defendants who have been properly joined and served join in or consent to

           the removal of this case to federal court. 28 U.S.C. §1446(b)(2)(A).

       10. Copies of all pleadings, processes, orders, and other filings in the state-court suit

           are attached to this notice as required by 28 U.S.C. §1446(a).

       11. Venue is proper in this district under 28 U.S.C. §1441(a) because the state court

           in which this has been pending is located in this district.

DEFENDANTS’ NOTICE OF REMOVAL -– PAGE 3
DM#528321
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       12. Defendant will promptly file a copy of this Notice of Removal with the clerk of

           the state court where the suit has been pending.

                                          C. JURY DEMAND

       13. Plaintiff did not demand a jury in the state-court suit. However, Defendants do

           hereby make a demand that any issue triable by right by jury be granted in this

           case pursuant to Rule 38 and Rule 81(c)(3)(B) of the FEDERAL RULES OF CIVIL

           PROCEDURE.

                                          D. CONCLUSION

       14. Defendants have timely filed this Notice of Removal. This suit qualifies for

           removal pursuant to 28 U.S.C. §1446(a) in that there is a complete diversity of

           citizenship between the Plaintiff, on the one hand, and all Defendants, on the

           other hand, and the amount in controversy is in excess of $75,000.00, exclusive

           of interest and costs.

               Wherefore, Defendants request the Court to remove the suit to the United

       States District Court, Northern District of Texas, Dallas Division.

                                               Respectfully submitted,

                                               /s/ Thomas S. Brandon, Jr.
                                               Thomas S. Brandon, Jr.
                                               Texas Bar No. 02881400
                                               Email: tbrandon@whitakerchalk.com

                                               John Allen Chalk
                                               Texas Bar No. 04059400
                                               Email: jchalk@whitakerchalk.com




DEFENDANTS’ NOTICE OF REMOVAL -– PAGE 4
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                                            WHITAKER CHALK SWINDLE & SCHWARTZ PLLC
                                            301 Commerce St., Ste. 3500
                                            Fort Worth, TX 76102
                                            Phone: 817-878-0500
                                            Fax: 817-878-0501

                                            ATTORNEYS FOR DEFENDANTS

                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served on counsel of
 record, via e-filing with the Court’s CM/ECF system and via email as provided in the
 FED.R.CIV.PROC. on this 18th day of June, 2021, namely:

        Jamie Welton, jrwelton@duanemorris.com, and
        Lucas Wohlford, lwohlford@duanemorris.com
        DUANE MORRIS, LLP
        100 Crescent Dr., Suite 1200
        Dallas, TX 75201.

                                             /s/ Thomas S. Brandon, Jr.
                                             Thomas S. Brandon, Jr.




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                                    CAUSE NO. DC-21-06287

 BUSINESS ADVISORS MD, LLC                         §             IN THE DISTRICT COURT OF
                                                   §
       Plaintiff,                                  §
                                                   §
 v.                                                §
                                                   §
 NATURAL STATE LABORATORIES, LLC,                  §             DALLAS COUNTY, TEXAS
 NATURAL STATE GENOMICS, LLC,                      §
 STEPHEN HARRISON, JEFFREY WEEKS,                  §
 TIMOTHY MILLER, SHARON MILLER,                    §
 JOSEPH MILLER, PROVENCE23, LLC,                   §
 and SB HOLDINGS, LLC                              §
                                                   §
       Defendants.                                 §             14TH JUDICIAL DISTRICT

                     INDEX OF DOCUMENTS FILED IN STATE COURT

      FILE DATE                                 DESCRIPTION
       05/17/2021 Plaintiff’s Original Petition

       06/02/2021    Affidavit of Service – Natural State Genomics, LLC

       06/02/2021    Affidavit of Service – Natural State Laboratories, LLC

       06/02/2021    Affidavit of Service – Provence23, LLC

       06/02/2021    Affidavit of Service – SB Holdings, LLC

       06/09/2021    Return of Service – Jeffrey Weeks

       06/17/2021    Defendants’ Original Answer




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   STATE COURT
  ONLINE DOCKET
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            Case Information

            DC-21-06287 I BUSINESS ADVISORS MD LLC vs NATURAL STATE LABORATORIES LLC, et al

            Case Number                  Court                       Judicial Officer
            DC-21-06287                  14th District Court         MOYE', ERIC
            File Date                    Case Type                   Case Status
            05/17/2021                   CNTR CNSMR COM DEBT         OPEN




            Party

            PLAINTIFF                                               Active Attorneys ■
            BUSINESS ADVISORS MD LLC                                Lead Attorney
            Address                                                 WELTON, JAMIE R
            6100W PLANO PKWY STE 3200                               Retained
            PLANO TX 75093

                                                                    Attorney
                                                                    WOHLFORD, LUCAS C
                                                                    Retained




            DEFENDANT                                               Active Attorneys',
            NATURAL STATE LABORATORIES LLC                          Lead Attorney
            Address                                                 BRANDON, TOM S
            4851 NORTHSHORE LN                                      Retained
            NORTH LITTLE ROCK AR 72118




            DEFENDANT                                               Active Attorneys ■
            NATURAL STATE GENOMICS LLC                              Lead Attorney




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• Details                                                                          Page 2 of 8
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              Address                                            BRANDON, TOM S
              10809 EXECUTIVE CENTER DR STE 319                  Retained
              LITTLE ROCK AR 72211




              DEFENDANT                                          Active Attorneys ■
              HARRISON, STEPHEN                                  Lead Attorney
              Address                                            BRANDON, TOM S
              34 MARGUEAUX DR                                    Retained
              LITTLE ROCK AR 72223




              DEFENDANT                                          Active Attorneys ■
              WEEKS, JEFFREY                                     Lead Attorney
              Address                                            BRANDON, TOM S
              1535 DECLARATION COVE                              Retained
              CONWAY AR 72034




              DEFENDANT                                          Active Attorneys ■
              MILLER, TIMOTHY                                    Lead Attorney
              Address                                            BRANDON, TOM S
              38 PAMELA DR                                       Retained
              LITTLE ROCK AR 72227




              DEFENDANT                                          Active Attorneys ■
              MILLER, SHARON                                     Lead Attorney
              Address                                            BRANDON, TOM S
              38 PAMELA DR                                       Retained
              LITTLE ROCK AR 72227




              DEFENDANT                                          Active Attorneys ■
              MILLER, JOSEPH                                     Lead Attorney
              Address                                            BRANDON, TOM S
              38 PAMELA DR                                       Retained
              LITTLE ROCK AR 72227




              DEFENDANT                                          Active Attorneys ■




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Details                                                                         Page 3 of 8
       Case 3:21-cv-01451-BK Document 1 Filed 06/18/21        Page 14 of 64 PageID 14

         PROVENCE23 LLC                                       Lead Attorney
                                                              BRANDON, TOM S
         Address
                                                              Retained
         5420 W MARKHAM
         LITTLE ROCK AR 72205




         DEFENDANT                                            Active Attorneys ■
         SB HOLDINGS LLC                                      Lead Attorney
         Address                                              BRANDON, TOM S
         2211 HUNTLEIGH COURT                                 Retained
         LITTLE ROCK AR 72212




        Events and Hearings


           05/17/2021 NEW CASE FILED (OCA) - CIVIL


           05/17/2021 ORIGINAL PETITION ■


           ORIGINAL PETITION


           05/17/2021 ISSUE CITATION ■


           ISSUE CITATION

           ISSUE CITATION

           ISSUE CITATION

           ISSUE CITATION

           ISSUE CITATION


           05/17/2021 ISSUE CITATION COMM OF INS OR SOS ■


          ISSUE CITATION COMM OF INS OR SOS

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          ISSUE CITATION COMM OF INS OR SOS




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            ISSUE CITATION COMM OF INS OR SOS


            05/19/2021 CITATION SOS/C01/COH/HAG ■


            Served
            05/27/2021

            Anticipated Server
            ESERVE

            Anticipated Method
            Actual Server
            OUT OF COUNTY

            Returned
            06/02/2021
            Comment
            SOS NATURAL STATE LABORTORIES LLC


            05/19/2021 CITATION SOS/C01/COH/FIAG ■


            Served
            05/27/2021

            Anticipated Server
            ESERVE

            Anticipated Method
            Actual Server
            OUT OF COUNTY

            Returned
            06/02/2021
            Comment
            SOS NATURAL STATE GENOMICS LLC C


            05/19/2021 CITATION SOS/C01/COH/HAG ■


            Unserved

            Anticipated Server
            ESERVE

            Anticipated Method
            Served
            05/27/2021

            Anticipated Server
            ESERVE

            Anticipated Method
            Actual Server
            OUT OF COUNTY

            Returned




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            06/02/2021
            Comment
            SOS PROVENCE 23 LLC


            05/19/2021 CITATION SOS/C01/COH/HAG v


            Served
            05/27/2021

            Anticipated Server
            ESERVE

            Anticipated Method
            Actual Server
            OUT OF COUNTY

            Returned
            06/02/2021
            Comment
            SOS SB HOLDING LLC


            05/19/2021 CITATION v


            Unserved

            Anticipated Server
            ESERVE

            Anticipated Method
            Comment
            STEPHEN HARRISON


            05/19/2021 CITATION v


            Served
            06/07/2021

            Anticipated Server
            ESERVE

            Anticipated Method
            Actual Server
            OUT OF COUNTY

            Returned
            06/09/2021
            Comment
            JEFFREY WEEKS


            05/19/2021 CITATION v


            Unserved

            Anticipated Server




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              ESERVE

              Anticipated Method
              Comment
              TIMOTHY MILLER


              05/19/2021 CITATION ■


              Unserved

              Anticipated Server
              ESERVE

              Anticipated Method
              Comment
              SHARON MILLER


              05/19/2021 CITATION ■


              Unserved

              Anticipated Server
              ESERVE

              Anticipated Method
              Comment
              JOSEPH MILLER


              06/02/2021 RETURN OF SERVICE ■


              EXECUTED CITATION SOS - NATURAL STATE LABORTORIES LLC

                Comment
                EXECUTED CITATION SOS - NATURAL STATE LABORTORIES LLC


              06/02/2021 RETURN OF SERVICE ■


              EXECUTED CITATION SOS - SB HOLDINGS, LLC

                Comment
                EXECUTED CITATION SOS - SB HOLDINGS, LLC


              06/02/2021 RETURN OF SERVICE ■


              EXECUTED CITATION SOS - NATURAL STATE GENOMICS, LLC

                Comment
                EXECUTED CITATION SOS - NATURAL STATE GENOMICS, LLC


              06/02/2021 RETURN OF SERVICE ■


              EXECUTED CITATION SOS - SOS PROVENCE 23, LLC




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                Comment
                EXECUTED CITATION SOS - SOS PROVENCE 23, LLC


              06/09/2021 RETURN OF SERVICE ■


              EXECUTED CITATION:JEFFREY WEEKS

                Comment
                EXECUTED CITATION:JEFFREY WEEKS


              06/17/2021 ORIGINAL ANSWER - GENERAL DENIAL ■


              ORIGINAL ANSWER




            Financial

            BUSINESS ADVISORS MD LLC
                 Total Financial Assessment                                        $380.00
                 Total Payments and Credits                                        $380.00


             5/18/2021 Transaction                                                $380.00
                          Assessment

             5/18/2021 CREDIT CARD -          Receipt #        BUSINESS          ($380.00)
                          TEXFILE (DC)        31053-2021-      ADVISORS MD LLC
                                              DCLK




            Documents




file:///ClUsers/bdubose/AppData/Local/Temp/Low/NJBSWZ88.htm                                  6/18/2021
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           ORIGINAL PETITION

           ISSUE CITATION

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           EXECUTED CITATION SOS - NATURAL STATE LABORTORIES LLC

           EXECUTED CITATION SOS - SB HOLDINGS, LLC

           EXECUTED CITATION SOS - NATURAL STATE GENOMICS, LLC

           EXECUTED CITATION SOS - SOS PROVENCE 23, LLC

           EXECUTED CITATION:JEFFREY WEEKS

           ORIGINAL ANSWER




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         DOCUMENTS
          FILED IN
        STATE COURT
                                                                                                                        FILED
5 ClTS-ESERVE                                                                                                5/17/2021 3:55 PM
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           Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                    Page 21 of 64 PageID 21        DISTRICT CLERK
4 CITS SOS-ESERVE                                                                                         DALLS 00.,TEXAS
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                                                           DC-21-06287
                                            CASE NO.
          BUSINESS ADVISORS NID, LLC,                     §              IN THE DISTRICT COURT OF
                                                          §
                  Plaintiff,                              §
                                                          §
          V.                                              §                  DALLAS COUNTY, TEXAS
                                                          §
          NATURAL STATE LABORATORIES,                     §
          LLC, NATURAL STATE GENOMICS,                    §
          LLC, STEPHEN HARRISON,                          §
          JEFFREY WEEKS, TIMOTHY                          §
          MILLER, SHARON MILLER,                          §
          JOSEPH MILLER, PR0VENCE23,                      §                 14th
          LLC, AND SB HOLDINGS, LLC,                      §
                                                          §
                  Defendants.                             §       _                 JUDICIAL DISTRICT
                                      PLAINTIFF’S ORIGINAL PETITION
                Plaintiff Business Advisers MD, LLC (“Plaintiff ’ or “Business Advisers”) ﬁles this

         Original Petition against Defendants Natural State Laboratories, LLC, Natural State Genomics,

         LLC, Stephen Harrison, Jeffrey Weeks, Timothy Miller, Sharon Miller, Joseph Miller, Provence23

         LLC, and SB Holdings, LLC (collectively, “Defendants”).
                                          PRELIMINARY STATEMENT
                This is a commercial debt collection suit to recover in excess of $2,000,000 pursuant to the

         terms of two medical billing service contracts. Defendants failed to pay the outstanding amounts

         owed under the contracts, and repudiated the Agreements by prematurely terminating the contracts

         and refusing to provide documentation necessary for Plaintiff to perform further services. The

         outstanding amounts owed are personally guaranteed by the owners of the contracting laboratories.

         Accordingly, Plaintiff brings its claims for breach of contract against the contracting laboratories

         and their owners for all outstanding amounts owed, in addition to late fees provided for in the

         contracts, attorneys’ fees, costs, and interest at the highest rate allowed by law.




         PLAINTIFF’S ORIGINAL PETITION                                                              PAGE 1
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                                DISCOVERY CONTROL PLAN
        1.     Pursuant to TEXAS RULE 0F CIVIL PROCEDURE 190.3, discovery shall be conducted

under Discovery Control Plan Level 2.

                                   JURISDICTION & VENUE

       2.      Jurisdiction is proper in this Court because Defendants purposely availed

themselves of the privilege of conducting business activities in Texas and have continuous and

systematic business contacts with Texas. Defendants also entered into contracts performable in

Whole or in part in the State of Texas, and caused damages and/or created justiciable controversies

in the State of Texas. Defendants also contractually agreed to the jurisdiction of the State of Texas.

       3.      The damages sought are within the jurisdictional limits of the Court. Pursuant to

TEX. R. CIV. P. 47(c), Plaintiff seeks monetary relief over $1,000,000.

       4.      Pursuant to § 15.002(a)(1) of the TEX. CIV. PRAC. & REM. CODE, venue is proper in

this Court because all or a substantial part of the alleged events and omissions giving rise to

Plaintiff” s claims occurred in Dallas County, Texas. Defendants also contractually agreed to venue

in Dallas County, Texas.

                                             PARTIES
       5.      Business Advisors MD, LLC is a limited liability company organized and existing

under the laws of the State of Texas with its principal place of business at 6100 West Plano Pkwy,

Suite 3200, Plano, Texas 75093.

       6.      Natural State Laboratories, LLC (“NSL”) is a limited liability company organized

under the laws of the State of Arkansas with its principal place of business located at 4851

Northshore Ln, North Little Rock, AR 721 18. Although NSL engaged in business in Texas, it does

not maintain a regular place of business in Texas and has not designated an agent for service of




PLAINTIFF’S ORIGINAL PETITION                                                                PAGE 2
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process in Texas. Accordingly, NSL may be served Via the Texas Secretary of State, at 1019

Brazos Street, Austin, TX 78701, as set forth in TEX. CIV. PRAC. & REM. CODE § 17.044.

       7.     Natural State Genomics, LLC (“NSG”) is a limited liability company organized

under the laws of the State of Arkansas with its principal place of business located at 10809

Executive Center Drive, Suite 319, Little Rock, AR 72211. Although NSG engaged in business in

Texas, it does not maintain a regular place of business in Texas and has not designated an agent

for service of process in Texas. Accordingly, NSG may be served via the Texas Secretary of State,

at 1019 Brazos Street, Austin, TX 78701, as set forth in TEX. CIV. PRAC. & REM. CODE § 17.044.

       8.      Stephen Harrison is an individual and citizen of the State of Arkansas who may be

served with process at 34 Margeaux Drive, Little Rock, AR 72223, or Wherever he may be found.

       9.     Jeffrey Weeks is an individual and citizen of the State of Arkansas who may be

served with process at 1535 Declaration Cove, Conway, AR 72034, or Wherever he may be found.

       10.    Timothy Miller is an individual and citizen of the State of Arkansas who may be

served with process at 38 Pamela Drive, Little Rock, AR 72227, or wherever he may be found.

       11.     Sharon Miller is an individual and citizen of the State of Arkansas who may be

served with process at 38 Pamela Drive. Little Rock. AR 72227. or wherever she may be found.

       12.    Joseph Miller is an individual and citizen of the State of Arkansas who may be

served with process at 38 Pamela Drive, Little Rock, AR 72227, or wherever he may be found.

       13.    Provence23, LLC is a limited liability company organized under the laws of the

State of Arkansas with its principal place of business located at 5420 West Markham, Little Rock,

AR 72205. Provence23, LLC is a member and owner of NSL. Although Provence23, LLC engaged
in business in Texas, it does not maintain a regular place of business in Texas and has not

designated an agent for service of process in Texas. Accordingly, Provence23, LLC may be served




PLAINTIFF’S ORIGINAL PETITION                                                            PAGE 3
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Via the Texas Secretary of State, at 1019 Brazos Street, Austin, TX 78701, as set forth in TEX. CIV.

PRAC. & REM. CODE § 17.044

        14.    SB Holdings, LLC is a limited liability company organized under the laws of the

State of Arkansas with its principal place of business located at 221 1 Huntleigh Court, Little Rock,

AR 72212. SB Holdings, LLC is the sole member and owner of NSG. Although SB Holdings,
LLC engaged in business in Texas, it does not maintain a regular place of business in Texas and
has not designated an agent for service of process in Texas. Accordingly, SB Holdings, LLC may

be served Via the Texas Secretary of State, at 1019 Brazos Street, Austin, TX 78701, as set forth

in TEX. CIV. PRAC. & REM. CODE § 17.044. Seaborn Bell is the sole member of SB Holdings,

LLC, and is an individual and citizen of the State of Arkansas.


Defendants Engage Business Advisors To Perform Medical Billing And Support Services.

        15.    Business Advisors is a medical billing and administrative support company.

Through years of experience in the medical billing and administrative support industry, Business

Advisors has developed effective and efﬁcient methods and processes for providing medical and

laboratory billing, credentialing, coding, and other administrative support services to medical

providers. These methods and processes enable healthcare providers and laboratories to timely and

effectively bill and collect medical claims. Business Advisors employs a dedicated team of staff

to service each client’s account, and has earned a sterling reputation in its industry and an “A+”


rating from the Better Business Bureau.

        16.    NSL and NSG are privately owned laboratories that perform toxicology testing,

genetic testing, and molecular diagnostics for medical providers and their patients.




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       17.     Stephen Harrison, Jeffrey Weeks, Timothy Miller, Sharon Miller, Joseph Miller

and Provence23, LLC are members and owners of NSL (collectively, the “NSL Owners”).

       18.     SB Holdings, LLC, is the sole member and owner of NSG (the “NSG Owner”).

       19.     On December 6, 2019, NSL and Business Advisors entered into a Service

Agreement wherein NSL agreed to pay Business Advisors to handle all medical claim processing,

billing, collection, and administrative support services for NSL (the “NSL Agreement”).

       20.     On February 1, 2020, NSG and Business Advisors entered into a separate but

substantively identical Service Agreement wherein NSG agreed to pay Business Advisors to

handle all medical claim processing, billing, collection, and administrative support services for

NSG (the “NSG Agreement,” and with the NSL Agreement, the “Agreements”).

       21 .    Under the terms of the Agreements, NSL/NSG agreed to provide Business Advisors

with the documentation needed to process all of their medical claims and handle billing and

collections. In turn, Business Advisors agreed to enter patient demographics, process medical

claims, process and submit claims to insurance companies, follow-up on rejections or denials, post

insurance payments, and generate patient statements using NSL/NSG’s web-based billing system.

       22.     The Agreements provided for an initial term of 180-days from the date of execution.

On the last calendar day of the ﬁnal month of the term (the “Renewal Date”), the Agreements

automatically renewed for successive ISO-day periods unless Business Advisors received written

notice of termination at least 60-days prior to the Renewal Date. The Agreements further provide

that NSL/NSG are responsible for payment of the monthly billing fees for one month following

the end of the term of the Agreements.

       23.     Under the terms of the Agreements, NSL/NSG agreed to pay Business Advisors

6% of monthly collections (from insurance and patients) on all medical claims. NSL/NSG also




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agreed to pay Business Advisers a $100 per day late fee on each monthly payment not received by

the 10th day of the month. NSL/NSG fuIther agreed, unconditionally, to pay Business Advisors

its monthly fees through the end of the ﬁxed term of the Agreements. Where actual monthly

collection amounts were not available, NSL/NSG agreed to pay Business Advisors the average

monthly fee calculated from the prior three months.

       24.    NSL Owners guaranteed all payments under the terms of the NSL Agreement.

       25.    The NSG Owner guaranteed all payments under the terms of the NSG Agreement.

Defendants Breached The Agreements And Failed To Pay The Outstanding Amounts Owed.

       26.    Business Advisors and NSL/NSG performed under the Agreements during the

initial 180-day term and a 180-day second term.

       27.    Business Advisors did not receive written notice of termination of the Agreements

60-days in advance of the Renewal Date for the third 180-day term.

       28.    Accordingly, on January 1, 2021, the NSL Agreement automatically renewed for a

third ISO-day term. Pursuant to the NSL Agreement, the third term ends June 30, 2021, and NSL

and the NSL Owners are responsible for payment of monthly fees through July 31, 2021.

       29.    On February l, 2021, the NSG Agreement automatically renewed for a third 180-

day term. Pursuant to the NSG Agreement, the third term ends July 31, 2021, and NSG and the

NSG Owner are responsible for payment of monthly fees through August 30, 2021.

       30.    On February 22, 2021, after the Agreements had already renewed for a third term,

Stephen Harrison, on behalf of NSL/NSG, emailed Business Advisors written notice to terminate

the Agreements (the “Termination Notice”) purporting to terminate the Agreements effective


February 28, 2021.

       31.    On February 24, 2021, Business Advisors acknowledged receipt of the Termination

Notice, but made clear to NSL/NSG that under the terms of the Agreements, the Termination

PLAINTIFF’S ORIGINAL PETITION                                                           PAGE 6
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Notice did not terminate the Agreements as of February 28, 2021, or any other arbitrary date

unilaterally selected by NSL/NSG. Rather, pursuant to the Termination Notice, the Agreements

would not renew for a fourth term.

       32.    Despite Business Advisors’ response, and contrary to the terms of the Agreements,

NSL/NSG thereafter stopped paying Business Advisors amounts due and owing under the

Agreements, and stopped performing all of their obligations under the Agreements.

       33.    Speciﬁcally, NSL defaulted on its obligation to pay Business Advisors for monthly

fees due and owing for April and May 2021.

       34.    NSG also defaulted on its obligation to pay Business Advisors for monthly fees due

and owing for April and May 2021.

       35.    As of April 1, 2021, NSL/NSG have failed and refused to provide Business

Advisors with any medical claims documentation needed in order for Business Advisors to process

the medical claims and tender performance under the Agreements. Business Advisors, on

numerous occasions, followed up with NSL/NSG on the same, but received no response or

communication whatsoever.

       36.    Accordingly, on April 19, 2021, Business Advisors sent NSL/NSG written notice

of their material breach of the Agreements and demand for payment and performance assurances.

Business Advisors made clear that it employs a dedicated team of staff to service NSL and NSG

under the Agreements in reliance on the agreed, ﬁxed term of the Agreements. Business Advisors

re-iterated to NSL/NSG that under the telms of the Agreements, NSL/NSG unconditionally agreed

to pay Business Advisors through the end of the third term notwithstanding Business Advisor’s


inability to render services under the Agreement due solely to NSL/NSG’S non-performance.




PLAINTIFF’S ORIGINAL PETITION                                                          PAGE 7
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        37.     NSL and NSL Owners owe Business Advisers monthly fees through the end of the

NSL Agreement (i.e., third teIm) of approximately $10,632.00, plus late fees on each outstanding

monthly payment accruing at $100/day.

        38.     NSG and the NSG Owner owe Business Advisors monthly fees through the end of

the NSG Agreement (i.e., third term) of approximately $2,084,300.00, plus late fees on each


outstanding monthly payment accruing at $100/day.

                                       CAUSES OF ACTION
Count I: Breach of Contract Against NSL And The NSL Owners.

        39.     Business Advisors hereby incorporates the allegations set forth in the above

paragraphs as if fully set forth herein.

        40.     The NSL Agreement is a valid and enforceable contract.

        41.     Business Advisors has performed all conditions precedent, covenants, and promises

required of it under the terms and conditions of the NSL Agreement, and has rendered all services

and performed all labor associated with the terms of the NSL Agreement and business dealings

between Business Advisors and NSL.

        42.     As described above, NSL breached the NSL Agreement by failing to pay Business

Advisors monthly fees due and owing under the NSL Agreement. NSL further breached the NSL

Agreement by failing and refusing to perform its obligations under the NSL Agreement, including,

among other things, failing to pay the outstanding amounts due thereunder, repudiating the NSL

Agreement, and refusing to send Business Advisors documentation for the processing of any

medical claims on and after April l, 2021.

        43.     On April 19, 2021, Business Advisors provided NSL written notice of its material

breach of the NSL Agreement and demand for payment and performance assurances. Under the

terms of the NSL Agreement, NSL unconditionally agreed to pay Business Advisors through the


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end of the third term and the following month notwithstanding Business Advisor’s inability to

render services under the NSL Agreement due solely to NSL’s wrongful repudiation and non-

performance.

       44.     Despite Business Advisors’ written notice and demand for performance assurance,

NSL has failed to perform, failed to provide adequate assurance of future performance, and failed

to pay Business Advisors pursuant to the terms of the NSL Agreement.

       45.     Similarly, the NSL Owners personally guaranteed the amounts owed to Business

Advisors by NSL under the Agreement, but has failed to pay the outstanding amounts owed.

       46.     As a direct and proximate result of NSL’s breaches and repudiation of the

Agreement, Business Advisors has suffered actual damage of $10,632.00 in monthly fees owed

under the Agreement, in addition to the contractual late fees in the amount of $100 per day, all

attorneys’ fees and costs incurred, and prejudgment interest on the outstanding amount owed.

       47.     Because Business Advisor’s claims are for, among other things, services rendered,

labor performed, and breach of contract, and Business Advisors has been required to retain the

undersigned attorneys to prepare, ﬁle, and prosecute this suit, Business Advisors has incurred, and

will further incur, costs in connection with the prosecution of this suit, including attorneys’ fees

and other costs. Business Advisors has presented its claim for payment. As such, Business

Advisors is entitled to recover any and all reasonable attorneys’ fees and costs, pursuant to

CHAPTER 38 of the TEX. CIV. PRAC. & REM. CODE. Business Advisors is also entitled to recover

all attorneys’ fees and costs incurred to collect the outstanding amount owed pursuant to the terms

of the NSL Agreement, which provides for the recovery of all attorneys’ fees and costs incurred

to collect the outstanding amount owed. Business Advisors also requests it be awarded all lawful


pre-judgment and post-judgment interest.




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ﬂint II: Ogantgm Mergit Against NSL An(_l The NSL Owners.
       48.     In the alternative to Count I, Business Advisors hereby incorporates the factual

allegations set forth in the above paragraphs as if fully set forth herein.

       49.     NSL and the NSL Owners promised to pay Business Advisors for performing the

services identiﬁed in the NSL Agreement for a ﬁxed period of time. Business Advisors relied on

the promise of NSL and the NSL Owners, performed the services identiﬁed in the NSL Agreement,

and employed a dedicated team of staff to perform such services under the NSL Agreement with

the reasonable expectation that NSL and the NSL Owners would perform their obligations under

the NSL Agreement and pay Business Advisors for the services rendered and labor performed for

the agreed period of time.

        50.    The services rendered, labor performed, and materials furnished to NSL and the

NSL Owners by Business Advisors were valuable and conveyed a beneﬁt to NSL and the NSL

Owners. Business Advisors has not been compensated for the services rendered, labor performed,

and materials furnished, to NSL and the NSL Owners, and has therefore been damaged. Business

Advisors is entitled to recover the reasonable value of the services rendered, labor performed, and

materials furnished, by Business Advisors for NSL and the NSL Owners. Business Advisors is

also entitled to disgorge any proﬁts or other unjust enrichment NSL and the NSL Owners have

received from the valuable services rendered, labor performed, and materials furnished, by

Business Advisors to NSL and the NSL Owners, which includes all revenue generated by NSL

based in whole or in part on Business Advisors’ acts. Business Advisors is entitled to recover any

and all reasonable attorneys’ fees and costs, pursuant to CHAPTER 38 of the TEX. CIV. PRAC. &

REM. CODE. Business Advisors also requests it be awarded all 1awﬁ11 pre-judgment and post-

judgment interest.




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ﬂint III: Breach of Contract Against NSG And The NSG Owner.
        51.     Business Advisors hereby incorporates the factual allegations set forth in the above

paragraphs as if fully set forth herein.

        52.     The NSG Agreement is a valid and enforceable contract.

        53.     Business Advisors has performed all conditions precedent, covenants, and promises

required of it under the terms and conditions of the NSG Agreement. Business Advisors rendered

all services and performed all labor associated with the terms of the NSG Agreement and business

dealings between Business Advisors and NSG.

        54.     As described above, NSG breached the NSG Agreement by failing to pay Business

Advisors monthly fees due and owing under the NSG Agreement. NSG further breached the NSG

Agreement by failing and refusing to perform its obligations under the NSG Agreement, including,

among other things, failing to pay the outstanding amounts due thereunder, repudiating the NSG

Agreement, and reﬁising to send Business Advisors documentation for the processing of any

medical claims on and after April 1, 2021.

        55.     On April l9, 2021, Business Advisors provided NSG written notice of its material

breach of the Agreement and demand for payment and performance assurances. Under the terms

of the NSG Agreement, NSG unconditionally agreed to pay Business Advisors through the end of

the third term and the following month notwithstanding Business Advisor’s inability to render

services under the NSG Agreement due solely to NSG’s wrongﬁil repudiation and non-

performance.

        5 6.    Despite Business Advisors’ written notice and demand for performance assurance,

NSG has failed to perform, failed to provide adequate assurance of ﬁiture performance, and failed

to pay Business Advisors pursuant to the terms of the NSG Agreement.




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        57.     Similarly, the NSG Owner personally guaranteed the amounts owed to Business

Advisors by NSG under the Agreement, but has failed to pay the outstanding amounts owed.

        58.    As a direct and proximate result of NSG’s breaches and repudiation of the

Agreement, Business Advisors has suffered actual damage of $2,084,300 in monthly fees owed

under the Agreement, in addition to the contractual late fees in the amount of $100 per day, all

attorneys’ fees and costs incurred, and prejudgment interest on the outstanding amount owed.

        5 9.   Because Business Advisor’s claims are for, among other things, services rendered,

labor performed, and breach of contract, and Business Advisors has been required to retain the

undersigned attorneys to prepare, ﬁle, and prosecute this suit, Business Advisors has incurred, and

will further incur, costs in connection with the prosecution of this suit, including attorneys’ fees

and other costs. Business Advisors has presented it claim for payment. As such, Business Advisors

is entitled to recover any and all reasonable attorneys’ fees and costs, pursuant to CHAPTER 38 of

the TEX. CIV. PRAC. & REM. CODE. Business Advisors is also entitled to recover all attorneys’ fees

and costs incurred to collect the outstanding amount owed pursuant to the terms of the NSG

Agreement, which provides for the recovery of all attorneys’ fees and costs incurred to collect the

outstanding amount owed. Business Advisors also requests it be awarded all lawful pre-judgment

and post-judgment interest.

Count IV: Quantum Meruit Against NSG And The NSG Owner.

        60.    In the alternative to Count V, Business Advisors hereby incorporates the factual

allegations set forth in the above paragraphs as if fully set forth herein.

        61.    NSG and the NSG Owner promised to pay Business Advisors for performing the

services identiﬁed in the NSG Agreement for a ﬁxed period of time. Business Advisors relied on

the promise of NSG and the NSG Owner, performed the services identiﬁed in the NSG Agreement,

and employed a dedicated team of staff to perform such services under the NSG Agreement with

PLAINTIFF’S ORIGINAL PETITION                                                             PAGE 12
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the reasonable expectation that NSG and the NSG Owner would perform their obligations under

the NSG Agreement and pay Business Advisors for the services rendered and labor performed for

the agreed period of time.

        62.     The services rendered, labor performed, and materials furnished to NSG and the

NSG Owner by Business Advisors were valuable and conveyed a beneﬁt to NSG and the NSG

Owner. Business Advisors has not been compensated for the services rendered, labor performed,

and materials fumished, to NSG and the NSG Owner, and has therefore been damaged. Business

Advisors is entitled to recover the reasonable value of the services rendered, labor performed, and

materials furnished, by Business Advisors for NSG and the NSG Owner. Business Advisors is also

entitled to disgorge any proﬁts or other unjust enrichment NSG and the NSG Owner have received

from the valuable services rendered, labor performed, and materials furnished, by Business

Advisors to NSG and the NSG Owner, which includes all revenue generated by NSG based in

whole or in part on Business Advisors’ acts. Business Advisors is entitled to recover any and all

reasonable attorneys’ fees and costs, pursuant to CHAPTER 38 of the TEX. CIV. PRAC. & REM. CODE.

Business Advisors also requests it be awarded all lawful pre-judgment and post-judgment interest.

                                  CONDITIONS PRECEDENT
        63.    All conditions precedent to Business Advisors’ claims for relief have been

performed or have occurred.

                                          BENCH TRIAL

        64.    Business Advisors hereby requests a bench trial of all issues set forth in this Petition

and all issues that may hereafter arise in this action.

                                        ATTORNEYS FEES
        65.    Business Advisors is entitled to recover its reasonable and necessary attorney fees

under the Agreements as well as under CHAPTER 38 of the TEX. CIV. PRAC. & REM. CODE.

PLAINTIFF’S ORIGINAL PETITION                                                               PAGE 13
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                                      RE UEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that Defendants be cited to appear and

answer, and that this Court enter a judgment in Plaintiff’s favor and against Defendants, providing

for relief, as follows:


                (l)       Judgment, jointly and severally, against NSL and the NSL Owners in the
                          amount of $10,632.00, plus $100 per day in late charges, and all other
                          damages in an amount to be determined at trial;

                (2)       Judgment, jointly and severally, against NSG and the NSG Owner in the
                          amount of $2,084,000.00, plus $100 per day in late charges, and all other
                          damages in an amount to be determined at trial;

                (3)       Prejudgment and post-judgment interest at the highest lawful rate;

                (4)       All attorneys’ fees and costs allowed by law; and

                (5)       Such further relief as the Court may deem appropriate and which Plaintiff
                          may be entitled.



                                                Respectfully submitted,



                                                /s/ Jamie R. Welton
                                                Jamie R. Welton
                                                State Bar No. 24013732
                                                Lucas C. Wohlford
                                                State Bar No. 24070871
                                                DUANE MORRIS, LLP
                                                100 Crescent Court, Suite 1200
                                                Dallas, Texas 75201
                                                Telephone: (214) 257-7200
                                                Facsimile: (214) 257-7201
                                                ﬁweltonéﬂduanemorriscom
                                                lcwohlford@duanemorris.com

                                                ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION                                                              PAGE 14
                                                                                                                                                             FILED
                                                                                                                                                   6/2/2021 3:10 PM
                                                                                                                                                      FELICIA PITRE
        Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                            Page 35 of 64 PageID 35          DISTRICT CLERK
                                                                                                                                                 DALLAS CO., TEXAS
                                                                                                                                          lrasema Sutherland DEPUTY


                                                    AFFIDAVIT OF SERVICE

State of Texas                                                    County of Dallas                                          14th Judicial District Court

Case Number: 00-21-0628?

Plaintiff:
BUSINESS ADVISORS MD, LLC
VS.
Defendant:
NATURAL STATE LABORATORIES. LLC, et al

Received these papers on the 27th day of May. 2021 at 2:00 pm to be served on NATURAL STATE
GENOMICS. LLC by delivering to THE TEXAS SECRETARY OF STATE, 1019 Brazos St., tst Floor
Lobby, Austin, Travis County. TX 78701.

i, Jeff Keyton. being duly sworn. depose and say that on the 27th day of May, 2021 at 3:23 pm. I:

delivered true duplicate copies of this Citation together with Plaintiff's Original Petition to the within named
defendant, NATURAL STATE GENOMICS. LLC by delivering to THE TEXAS SECRETARY OF STATE, by and
through its designated agent, WEB JEROME. at the address of: 1019 Brazos St., 1st Floor Lobby, Austin.
Travis County, TX 78701, having ﬁrst endorsed upon both copies of such process the date of delivery and
tendering the $55 Statutory Fee.



Icertify that I am approved by the Judicial Branch Certiﬁcation Commission, Misc. Docket No. 05-9122 under rule
103, 501, and 501.2 of the TRCP to deliver citations and other notices from any District, County and Justice
Courts in and for the State of Texas. i am competent to make this oath; i am not less than 18 years of age, I am
not a party to the above-referenced cause, I have not been convicted of a felony or a crime of moral turpitude,
and I am not interested in the outcome of the above-referenced cause.




Subscribed and Sworn to before me on the 27th
day of May. 2021 by the afﬁant who is personally                                                           JeffK    n
known to me.                                                                                               PSC-Z   i Exp 7/31/2022

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                                         Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                    Page 36 of 64 PageID 36
FORM NO. 3534 CITATION                                                                                                                                    ESERVE (SOS)
TIIE STATE OF TEXAS
To:    NATURAL STATE GENOMICS. LLC
       BY SERVING THE SECRETARY OF STATE                                                                                                                                   CITATION
        OFFICE OF THE SECRETARY OF STATE
       CITATIONS UNIT - I’.O. BOX [2079
        AUSTIN, TX, 7871!
                                                                                                                                                        [            No.: DC-21-06287
GREETINGS:                                                 -
                                                                                                                                                                BUSINESS ADVISORS MD LLC
You have been sued. You may employ an attorney. lfyou or your attorney do not ﬁle a written answer with the clerk who issued this citation by                                      vs.
10 o'clock am. of the Monday tlcxl following the expiration of twenty days alter you were served this citation and petition. a default judgment may      NATURAL STATE LABORATORIES LLC, 9t
be taken against you.
 In addition to ﬁling a written answer with the clerk. you may be required to make initial disclosures to the other parties ot’this suit. These
 disclosures generally must be made no later than 30 days aﬂer you ﬁle your answer with the clerk. Find out more at ‘I'exasLawllelporg. Your
 answer should be addressed to the clerk ol‘ the Nth Dtriet Court at 600 Commerce Street. Dallas Texas. 75202.

                                                                                                                                                                             ISSUED
                                                                                                                                                             ON THIS THE I9TH DAY OF MAY.
  Said PLAINTIFF being BUSINESS ADVISORS .‘ID LLC                                                                                                                              2021

 Filed in said Court on the I7th titty of May. 202! against
                                                                                                                                                         FELICIA PITRE
  NATURAL STATE LABORATORIES LLC; NATURAL STATE CENOMICS LLC: STEPHEN HARRISON; JEFFREY WEEKS:
                                                                                                                                                         Clerk District C ourts.
 TIMOTHY MILLER: SHARON MILLER: JOSEPH MILLER: PROVENCEZS LLC; SB HOLDINGS LLC
                                                                                                                                                         Dallas County, Texas
  For suit. said suit being numbered DC-ZI-MZB‘I the nature of which demand is its follows:
 Suil 0n CNTR CNSMR COM DEBT etc.                                                                                                                           By COURTNEY RUTLEDGE. Deputy
as shown on said petition a copy of which accompanies this citation. lt'this citation is not served. it shall be retumed tinexeeutcd.
                                                                                                                                                                      Attorney for : Plaintiff
WITNESS: FELICIA PITRE. Clerk of the District Couns ot‘Dallas. County Texas.
 Given under my hand and the Seal ot‘said Court at ofﬁce on this the mt. day of May. 2021
                                                                                                                ‘9        M“ II],
                                                                                                                        -------- i
                                                                                                                                                                     JAMIE R WELTON
                                                                                                             34"»)??-               {(3%                             DUANE MORRIS LLP
ATTEST: FELICIA PITRE cm ttflhc District Courts of Dallas. County. Texas                                    §§g’ r
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                              By                   “MW
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                                                   COURTNEY RUTLEDGE
                                                                             , Deputy
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                                                                                                                                                             DALLAS COUNTY
                                                                                                                                                              SERVICE FEES
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                                                 Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                          Page 37 of 64 PageID 37

                                                                                                               OFFICER'S RETURN
                                                                                                               FOR INDIVIDUALS
Cause No. DC-Zl-06287
Court No: Nth District Court

Style: BUSINESS ADVISORS              M LL
vs.
NATURAL STATE LABORATORIES LLC. et al

Received this Citation tlte                  day of                     . 20      at                       o'clock. Executed at                     .- within tlte County of                                               . State
of                 . on the                  day of                     , 20       . at                 o'clock. by
delivering to the within named                                                                          web in person. a copy of this Citation together with the accompanying copy of Plaintiffs original petition, having ﬁrst
indorsed on same tlte date of delivery.
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                                                                                                               OFFICER'S RETURN
                                                                                                              FOR CORPORATIONS
Received this Citation the                _day ol'_‘_              _.    20       at_____                 _o’elock 'a.M. Executed at _     _     _         _
                                                                                                                                                     . within the County of    _  _              _   ___                 _           .
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State of                              . on the          day of                            . 20            . at          o‘clock      .M. by summoning the within named Corporation.

                                                                                                                President - Vice President -   analog Agent - in person. ol'the said
          a true copy of this citation together with the accompanying copy ofPlaintitl‘s original petition. having ﬁrst indometl on same the date ol'delivcry.
                                                                                                               -—--—-000000
The distance actually traveled by me in serving such process “as                          miles and my fees are as follows:                To eenify which witness by my hand.
For Serving Citation          S                                                Sheriff
For Milmgc                    S                                                County of
For Notary                    S                                                State of
          Total Fees          5                                                By_           _.     -              _   __




(Must be veriﬁed ifsened outside the State ol'Texas)
State of__ _
County of
         Signed and sworn to me by the said                                                       before me this               day of                                      . 20        . to certify which witness my hand and seal of
otiicc.

                                                                 Seal                                                                                                    State 8: County of
                                                                                                                      FILED
                                                                                                            6/2/2021 3:08 PM
                                                                                                               FELICIA PITRE
       Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                     Page 38 of 64 PageID 38           DISTRICT CLERK
                                                                                                          DALLAS CO., TEXAS
                                                                                                   Irasema Sutherland DEPUTY



                                         AFFIDAVIT OF SERVICE

State of Texas                                  County of Dallas                    14th Judicial District Coun

Case Number: 00-21-0628?

Plaintiff:
BUSINESS ADVISORS MD, LLc
vs.
Defendant:
NATURAL STATE LABORATORIES, LLC, et al

Received these papers on the 27th day of May, 2021 at 2:00 pm to be served on NATURAL STATE
LABORATORIES, LLC by delivering to THE TEXAS SECRETARY OF STATE. 1019 Brazos St. 1st Floor
Lobby, Austin, Travis County, TX 78701.

l, Jeff Keyion. being duly swom. depose and say that on the 27th day of May, 2021 at 3:23 pm, I:

delivered true duplicate copies of this Citation together with Plaintiff‘s Original Petition to the within named
defendant, NATURAL STATE LABORATORIES, LLc by delivering to THE TEXAS SECRETARY 0F STATE. by
and through its designated agent. WEB JEROME, at the address of: 1019 Bruos St., 1st Floor Lobby. Austin,
Travis County, TX 78701, having ﬁrst endorsed upon both copies of such process the date of delivery and
tendering the $55 Statutory Fee.



|
 certify that I am approved by the Judicial Branch Certiﬁcation Commission. Misc. Docket No. 05-9122 under rule
103, 501, and 501.2 of the TRCP to deliver citations and other notices from any District. County and Justice
Courts in and for the State of Texas. am competent to make this oath; I am not less than 18 years of age. l am
                                     |




not a party to the above-referenced cause. I have not been convicted of a felony or a crime of moral turpitude.
and i am not interested in the outcome of the above-referenced cause.




Subscribed and Sworn to before me on the 27th
day of May. 2021 by the afiiant who is personally               Jeff Ke‘
known to me.                                                    PSC-73      xp 7/31/2022
                                          ”Sm-m;
                                          tab“? r1]             Our Job Serial Number: THP-2021002603
                                                                Ref: 1460273. 0277. 0279 8. 0281
NOTARY PUBLIC

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                                         Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                              Page 39 of 64 PageID 39
FORM NO. 3534 CITATION                                                                                                                              ESERVE (SOS)
TIIE STATE OF TEXAS
To:     NATURAL STATE LABORATORIES l.I.C
        BY SERVING TIIE SECRETARY OF STATE                                                                                                                                 CITATION
         OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.O. BOX 12079
        AUSTIN. TX. 7811]
                                                                                                                                                                     No.: DC—Zl-06287
GREETINGS:                                                                                                                                                      BUSINESS ADVISORS MD LLC
You have been sued. You may employ an attorney. It“ you or your attorney do not ﬁle a written answer with         the clerk who issued this citation by                            vs.
It) o'clock am. of Iltc Monday next following the expiration of twenty days after you were served this citatiorr and petition. a default judgment may     NATURAL STATE LABORATORIES LLC, et
be taken against you.                                                                                                                                                              al
  In addition to ﬁling a written answer with the clerk. you may be required to make initial disclosures to the other parties of this suit. These
  disclosures generally must be made no latcrthun 30 days after you ﬁle your answer with the clerk. Find out more at 'i‘exasLawHelpmg. Your
  answer should be addressed to the clerk of the “III District Court at 600 Commerce Street. Dallas Texas. 75202.

                                                                                                                                                                        ISSUED
                                                                                                                                                             ON THIS THE 19TH DAY OF MAY.
  Said PLAINTIFF being BUSINESS ADVISORS MI) LLC                                                                                                                               2021

 Filed in said Court on the 17th day of May. 202I against
                                                                                                                                                          FELICIA PITRE
  NATURAL STATE LABORATORIES LLC: NATURAL STATE GENOMICS LLC: STEPHEN HARRISON; JEFFREY WEEKS:                                                            Clerk District Courts,
 TIMOTHY MILLER: SHARON MILLER: JOSI'ZPII MILLER: PROVENCEB LLC; SB HOLDINGS LLC
                                                                                                                                                          Dallas County, Texas
 For suit. said suit being numbered DON-06287 the nature orwhieh demand is as follows:
 Suit 0n CNTR CNSMR COM DEBT etc.                                                                                                                          By QOURTNEY RUTLED‘GE, Deputy
as shown on said petition a copy of which accompanies this citation.   If this citation is not served. it shall he returned unexecuted.
                                                                                                                                                                      Attorney for : Plaintiff
WITNESS: FELICIA PITRE. Clerk oftlte District C‘ouns of Dallas. County Texas.                                                                                        JAMIE R WELTON
 Given under my hand and the Seal of said Conn at ol‘t'tcc on this the I9th day of May. 202]
                                                                                                                MIIIIIIIII’ ’4,
                                                                                                             3‘3?”‘-       ‘29 6
                                                                                                                           *                                         DUANE MORRIS LLP
ATTEST: FELICIA mus Clerk urtttc District Couns of Dallas. County. Texas
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                                                                                                                                                                   irweltongaitduanemorris.com
                                                                                                                                                              DALLAS COUNTY
                                                                                                                                                               SERVICE FEES
                                                                                                                                                                      NOT PAID
                                            Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                                    Page 40 of 64 PageID 40

                                                                                                                OFFICER’S RETURN
                                                                                                                FOR INDIVI DUALS
Cause No. 0021-06287
Court No: 14th District Conn

Style: BUSINESS ADVISORS MD LLC
 vs.
NATURAL STATE LABORATORIES LLC. et al

Received this Citation the             day of                        . 20           m                     o'clock. Executed at           ___.    _
                                                                                                                                                    within the County of                                                  . State
of                 . on the            day of                            . 20       . at               o‘clock. by
delivering to the within named                                                                        each in person. a copy of this Citation together with the accompanying copy of Plaintiffs original petition, having Iirst
indorsed on same the date of delivery.
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                                                                                                                OFFICER'S RETURN
                                                                                                                FOR CORPORATIONS
Received this Citation the                 day of        ,    .
                                                                     . 20           at      ____         o'clock _   __.M. Executed at      __       _   _ within the County of
                                                                                                                                                          __                                _    _       __   _   _____            __    _   _
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State of                        . on the                 day of                            , 20          . at            o'clock   __
                                                                                                                                            .M. by summoning the within named Corporation.

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          a true copy of this citation together with the accompanying copy of l'lnitttit't‘s original petition, having first itttlorsetl on same the date of delivery.
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The distance actually traveled by me in serving such process was                           miles and my fees are as follows:                         To certify which witness by my hand.
For Serving Citation                                                            Sheriff                                                 _
For Mileage                   5                     __                          County of
For Notary                    5                                                 State of
          Total Fees          5                                                 Bt'..__.                                   ___    _ _
(Must be veriﬁed if served outside the State ol"l‘exas)
Slate  of_   _
County of
          Signed and swam to me by the said                                                        before me this                day of                                             . 20             . to certify which witness my hand and seal of
oﬁice.

                                                                  Seal                                                                                                            State 8:. County of
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                                                                                                                                    FELICIA PITRE
       Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                     Page 41 of 64 PageID 41               DISTRICT CLERK
                                                                                                                              DALLAS 00., TEXAS
                                                                                                                       lrasema Sutherland DEPUTY


                                            AFFIDAVIT OF SERVICE

State of Texas                                           County of Dallas                                14th Judicial District Court

Case Number. 00-21-0628?

Plaintiff:
BUSINESS ADVISORS MD, LLc
VS.
Defendant:
NATURAL STATE LABORATORIES. LLC. et al

Received these papers on the 27th day of May, 2021 at 2:00 pm to be served on PROVENCE23, LLC by
delivering to THE TEXAS SECRETARY OF STATE, 1019 Brazos St.. 1st Floor Lobby, Austin, Travis
County, TX 78701.

l, Jeff Keyton. being duly sworn, depose and say that on the 27th day of May. 2021 at 3:23 pm, l:

delivered true duplicate copies of this Citation together with Plaintiff's Original Petition to the within named
defendant, PROVENCEZ3, LLC by delivering to THE TEXAS SECRETARY 0F STATE, by and through its
designated agent. WEB JEROME. at the address of: 1019 Brazos St., 1st Floor Lobby, Austin, Travis County,
    78701, having ﬁrst endorsed upon both copies of such process the date of delivery and tendering the $55
git
 tatutory Fee.



l certify that i am approved by the Judicial Branch Certification Commission, Misc. Docket No. 05-9122 under rule
103, 501. and 501.2 of the TRCP to deliver citations and other notices from any District. County and Justice
Courts in and for the State of Texas. l am competent to make this oath: l am not less than 18 years of age. l am
not a party to the above-referenced cause. l have not been convicted of a felony or a crime of moral turpitude,
and I am not interested in the outcome of the above-referenced cause.




Subscribed and Sworn to before me on the 27th
day of May. 2021 by the afﬁant who is personally                             Jeﬂ
known to me.                                                                 P80-        5; Exp 7131/2022
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NOTARY PUBLIC

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                                         Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                             Page 42 of 64 PageID 42
FORM N0. 3534 CITATION                                                                                                                             ESERVE (SOS)
THE STATE OF TEXAS
To:     I’ROVI-ZNCEZJ. LLC
        BY SERVING THE SECRETARY OF STATE                                                                                                                               CITATION
         OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.0. BOX I2079
        AUSTIN. TX. 78‘" I                                                                                                                                         No.: 0021-06287
                                                                                                                                                       [
GREETINGS:                                                                                                                                                    BUSINESS ADVISORS MD LLC
You have been sued. You may cmpon an attorney. If you or your attomcy do not ﬁle a written answer with the clerk who issued this citation by                                    vs.
[0 o'clock a.m. ol‘tlte Monday next following the expiration of twenty days after you were served this citation and petition. a default judgment may   NATURAL STATE LABORATORIES LLC. et
be taken against you.
 In addition to ﬁling a written answer with the clerk. you may be required to make initial disclosures to the other parties of this suit. These
 disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find out more at TexasLawHclp.org. Your
 answer should be addtcssed to the clerk of the Nth District Court at 600 Commerce Street. Dallas Texas. 75202.

                                                                                                                                                                       ISSUED
                                                                                                                                                            ON THIS THE 19TH DAY OF MAY,
  Said PLAINTIFF being BUSINESS ADV ISORS MD LLC                                                                                                                            2021

 Filed in said (mm on the l7th tlay of May. 202! against
                                                                                                                                                       FELICIA PITRE
  NATURAL STATE LABORATORIES LLC: NATURAL STATE GENOMICS LLC: STEPHEN HARRISON: JEFFREY WEEKS:                                                         Clerk District Courts,
 'I‘IMO'I‘IIY h‘IIIJJ-ZR: SHARON MILLER: JOSEPH MILLER: PROVENCEZS LLC; 8!! HOLDINGS LLC
                                                                                                                                                       Dallas County. Texas
  For suit, said suit being numbered DC-2l-06281 the nature ot‘which demand is as follows:
 Suit 0n CNTR CNSMR COM DEBT etc.                                                                                                                          By COURTNEY RUTLEDGE. Deputy
as shown on said petition a copy of whiclt accompanies this citation. If this citation is not served. it shall be tetuntcd nnexecuted.
                                                                                                                                                                   Attorney for : Plaintiff
WITN ESS: FELIC’IA I’ITRE. Clerk ot'thc District Conus of Dallas. County Texas.                                                                                   JAMIE R WELTON
                                                                                                                '3 “:Hz'w'ko
 Given under my hand and the Seal of said Coutt at ofﬁce on this the 19th day of May. 202l
ATTEST: FELlClA PITRE Clerk of the District Courts of Dallas, County. Texas
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                                                                                                                                                                 [00 CRESCENT COURT
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                                                                                                                                                            DALLAS COUNTY
                                                                                                                                                             SERVICE FEES
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                                                Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                                  Page 43 of 64 PageID 43

                                                                                                                       OFFICER'S RETURN
                                                                                                                       FOR INDIVIDUALS
Cause No. 0021-06287
Court No: Nth District Court

Style: BUSINESS ADVISORS MD LLC
vs.
NATURAL STATE LABORAORIES LLC. et all

Received this Citation the         _ '“day of                   7
                                                                         . 20            ttt                     o'clock. Executed ttt                          . within llte County of                                                        .   State
of                 . on the            day of                                . 20         . at                o'lock. by
delivering to the within named                                                                                each in person. a cepy ot'tltis Citation together with the accompanying copy of Plaintiff‘s original petition. having ﬁrst
indorsed on some the date oi'dclivery.
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                                                                                                                        OFFICER'S RETURN
                                                                                                                       FOR CORPORATIONS
Received this Citation the    .    -          day ol‘_                   . 20            .al_                    o'clock _   ,M. Executed at _              _    _ , within the County of_                                           _     _         _     .
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State of                          . on the                   day of                              . 20           . at            o'clock             .M. by summoning the within named Contention.

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           it [me copy of this citation together with the accompanying copy ol‘Plttintiil's original petition. having ﬁrst indented on same the date oi‘delivery.
                                                                                                               ——-----000000v——--—-
The distance actually traveled by me in serving such process was                                 miles and my fees are as follows:                    To certify which witness by my hand.
For Serving Citation          S                   _                                 Sheriff                                            _
For Mileage                   S                                                     County of
For Notary                    S                                                     State of
          Total Fees          S                          _                          By                                           ;
( Must be veriﬁed ifserved outside the State ol'l'exas)
State of_____               _      ___




County of
          Signed and sworn to me by the said                                                           before me this                      day of                                         . 20          . to certify which witness my hand and sea} of
ofﬁce.

                                                                      Seal                                                                                                             State 8: County of
                                                                                                                                FILED
                                                                                                                      6/2/2021 3:10 PM
                                                                                                                         FELICIA PITRE
          Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                             Page 44 of 64 PageID 44          DISTRICT CLERK
                                                                                                                    DALLAS CO., TEXAS
                                                                                                             lrasema Sutherland DEPUTY



                                               AFFIDAVIT OF SERVICE

State of Texas                                      County of Dallas                           14th Judicial District Court

Case Number: 00-21-0628?

Plaintiff:
BUSINESS ADVISORS MD, LLC
VS.
Defendant:
NATURAL STATE LABORATORIES. LLC, et al

Received these papers on the 27th day of May. 2021 at 2:00 pm to be served on SB HOLDINGS, LLC by
delivering to THE TEXAS SECRETARY OF STATE, 1019 Brazos St, tst Floor Lobby. Austin. Travis
County. TX 78701.

I, Jeff Keyton. being duly sworn, depose and say that on the 27th day of May, 2021 at 3:23 pm, I:

delivered true duplicate copies of this Citation together with Plaintist Original Petition to the within named
defendant. SB HOLDINGS, LLC by delivering to THE TEXAS SECRETARY OF STATE, by and through its
designated agent, WEB JEROME. at the address of: 1019 Brazos 5L, 1st Floor Lobby, Austin, Travis County,
TX 78701, having ﬁrst endorsed upon both copies of such process the date of delivery and tendering the $55
Statutory Fee.



l certify that l am approved by the Judicial Branch Certification Commission. Misc. Docket No. 05-9122 under rule
103, 501, and 501.2 of the TRCP to deliver citations and other notices from any District. County and Justice
Courts in and for the State of Texas. I am competent to make this oath; i am not less than 18 years of age, I am
not a party to the above-referenced cause, I have not been convicted of a felony or a crime of moral turpitude.
and am not interested in the outcome of the above-referenced cause.
      I




Subscribed and Sworn to before me on the 27th
day of May, 2021 by the affiant who is personally                            Jeff
known to me.                                                                 P80-   5; Exp 7/31/2022
                                             illllrm,
                                          s'i b“
                                       s 3139“ P09,414.,',/;'€I
                                   s
                                    g :' .          A"?               ’4’,   Our Job Sen‘al Numben THP-2021002604

NOTARY PUBLIC
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                                Copyrights 1992WZ1 Dime   Sam. Inc. -ﬁm        Sum Tooibmvah
                                         Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                                       Page 45 of 64 PageID 45
FORM N0. 3534 CITATION                                                                                                                                                       ESERVE (SOS)
THE STATE OF TEXAS
To:    SB HOLDINGS, l.I.C
        IY SERVING THE SECRETARY OF STATE                                                                                                                                                    CITATION
         OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.0. BOX l2079
        AUSTIN, TX, 787“                                                                                                                                                                No.: 0021-06287             l
                                                                                                                                                                            I
                                                                                                                                                                                                                        ‘
GREETINGS:                                                                                                                                                                         BUSINESS ADVISORS MD LLC             i
You have been sued. You may employ an attorney. If you or your atlomey do not ﬁle a written answer with the clerk who issued this citation by                                                        vs.                '




IO o'clock tun. ot‘tlte Monday next following the expiration ol‘ twenty days after you were served this citation and petition. a default judgment may                       NATURAL STATE LABORATORIES LLC. et
be taken against you.                                                                                                                                                                                at
 in addition to tiling a written answer with the cledr. you may be required to make initial disclosures to the other parties ot‘this suit. These
 disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find out more at 'I‘exasLawHelp.org. Your
 answer should be addressed to the clerk of the I-Ith District Court at 600 Commerce Street. Dallas Texas, 75202.

                                                                                                                                                                                               ISSUED
                                                                                                                                                                                 ON THIS THE 19TH DAY OF MAY.
  Said PLAINTIFF being BUSINESS ADVISORS MI) LLC                                                                                                                                                 202]

 Filed in said (‘oun on the 17th day at May. 202l against
                                                                                                                                                                            FELICIA PITRE
 NATURAL STATE LABORATORIES LLC: NATURAL STATE GENOMICS LLC: STEPHEN HARRISON: JEFFREY WEEKS:
 TIMOTHY MILLER: SHARON MILLER: JOSEPH MILLER: PROVENCEIJ LLC: SB HOLDINGS LLC                                                                                              Clerk District Courts.
                                                                                                                                                                            Dallas County. Texas
  For suit. said suit being numbered DC—2l-0628‘I the nature of which demand is as follows:
 Suit On CNN! CNSMR COM DEBT etc.                                                                                                                                               By COURTNEY RUTLEDGE. Deputy
as shown on said petition a copy ot'which accompanies this citation. If this citation is not served. it shall be returned unexeCuted.

                                                                                                                          “                                                             Attorney for : Plaintiff




                                                                                                                             «,2
                                                                                                                                 r “.3"‘ 5
                                                                                                                                                                                                                            i
WITNESS: FELICIA PITRE. Clerk ot‘the District Courts of Dallas. County Texas.
                                                                                                                                                                                       JAMIE R WELTON




                                                                                                                                        é
                                                                                                                      I




                                                                                                                               E
                                                                                                                             or"
 Given under my hand and the Seal ol'said Court at ofﬁce on this the 19th day of May. 202|




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                                                                                                                      o,-this“
                                                                                                                                                                                       DUANE MORRIS LLP



                                                                                                            “ii?”


                                                                                                                                             I’4”l«tuuttut\‘
ATTEST: FELICIA PITRE Clerk of the District Courts of Dallas. County. Texas




                                                                                                                 l 0‘
                                                                                                                                                                                      l00 CRESCENT COURT




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                                                                                                                                                                                         SUITE I200




                                                                                                                              a"
                              By                                             . Deputy
                                                   COURTNEY RUTLEDGE                                            17"!                                                                DALLAS       TX 7520l                   i

                                                                                                                 ”gm IIowl‘zﬁ“
                                                                                                                                                                                            214-257-72 l 3                  ~




                                                                                                                                                                                     irweltonfdtzduanentorris.com
                                                                                                                                                                                 DALLAS COUNTY                                  ;




                                                                                                                                                                                  SERVICE FEES                                  i




                                                                                                                                                                                    NOT PAID
                                                          Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                                                     Page 46 of 64 PageID 46

                                                                                                                                OFFICER‘S RETURN
                                                                                                                                FOR INDIVIDUALS
Cause No. 00306287
Coon No: 14th Districl Coon

Style: BUSINESS ADVISORS MD LLC
    we.
I    ATURAI. STATE LABORATORIES LLC. et al

Received this Citation the   *                        day of                            . 20          at                  o'clock. Executed at __
                                                                                                                                                                     . within the County of                                                  . State
of                , on the                            day of                                . 20       . at            o'clock.  b
elivering to the within named                                                                                         each in person. a copy of tit is Citation together with the accompanying copy of Plaintiff's original petition, having ﬁrst
indorsed on same the date ot’delivet'y.
                                                                                                                               ------000000-—--—-
                                                                                                                               OFFICER'S RETURN
                                                                                                                              FOR CORPORATIONS
Received this Citation the,                   _    ___,dayol'.     .,   _               .20 _ __‘at__            __   _,_o'clock _ :M. Executed at                          within the County ofﬁ _                                     _ _           __   _,
State of                              . on the                              day of                            . 20       . at            o‘clock    __
                                                                                                                                                          .M. by summoning the within named Corporation.

                                                                                                                                                         dent                          - in person. oftlte said

           a true copy of this eitntion together with the accompanying copy of Plaintil‘t‘s original petition, having ﬁrst indorsed on same the date ot'delit'ery.
                                                                                                                                ----—----000000-—-----
The distance acluttlly traveled by me in serving such process was                                             miles Ind my fees are as follows:                      To certify which witness by my hand.
For Serving Citation           S                                                                   Sheriﬂ'                                                      __




For Mileage                    S                                                                   County of
For Notary                     S                                                                   State of
          Total Fees           S     _        __     __                 _                          By _
                                                                                                      V
                                                                                                                         _                _
(Must be veriﬁed il'served outside the State of’l‘exas)
State of____     _____           __________                    _
County of
         Signed and snom to me by the said                                                                       before me this               day of                                                , 20          . to cenit‘y which witness my hand and seal of
ofﬁce.

                                                                                     Sent                                                                                                         State & County of
                                                                                                                             6/9/2021 1232—13611
                                                                                                                                 FELICIA PlTRE
           Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                              Page 47 of 64 PageID 47              DISTRICT CLERK
                                                                                                                          DALLAS CO., TEXAS
                                                                                                                        Deondria Grant DEPUTY




                                                            CAUSE N0. D 21-
           BUSINESS ADVISORS MD, LLC,
                                                                          §                     IN THE DISTRICT COURT
                                                                          §
                                                                          §
                                  Plaintiftls),                           §
           VS.
                                                                          §                    14TH JUDICIAL DISTRICT
          NATURAL STATE LABORATORIES,                                   §
                                                                        .§
          LLC; NATURAL STATE GENOMICS,
                                                                        §
          LLC, ET AL.,
                                                                        §
                                 Defendanﬂs).                           §                      DAILAS COUNTY, TEXAS
                                                           RETURN OF SERVI
     Came to my hand on Wednesd
                                    ay, May 26, 2021 at 3:15 PM,
     Executed at: 1400 KIRK ROAD, LITTLE
                                                  ROCK, AR 72223
     within the county of PULASKI at 10:31
                                               AM, on Monday, June , 2021,
     by individually and personally delivering to the within named:

                                                             JEFFREY WEEKS
     a true copy of this

                                  CITATION and PLAINTIFT'S ORIGIN                       PETITION
    having ﬁrst endorsed thereon the date of the
                                                              delivery.
 BEFORE ME, the undersigned authority, on this
                                                      day personally appeared 1M SIBERT who after
oath states: "My name is TIM SIBER'I‘.
                                             I am a perso over                                                 being duly sworn on
                                                          n      eighteen (18) cars of age and I am comp
afﬁdavit. I am a resident of the State of Arka                                                                   etent to make this
                                                nsas. I have personal knowled 'e of the facts and
afﬁdavit and aver that each is true and correct. I                                                      statements contained in this
                                                   am not a party to this suit our related or affilia
no interest in the outcome of the                                                                     ted with any herein, and have
                                     suit. I have never been convicted of a
                                                                                    lony or of a misdemeanor
turpitude.”                                                                                                        involving moral




                                                              By:
                                                                    TIM SIBE         OCESS SERVER
                                                                    served      iald livenncom


           {ibed and Sworn to by TIM SIBERT, Befo
                                                                     re Me, the undhrsigned authority, on this
              a? of June, 2021

                                                    "I
                             301         a.-         ’9.
                                  'YP                         Notary          in and 'or the State of Arkansas

                                  ARKANSAS


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                           I,” 50 EKPIREEE\\\\""
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                           Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                      Page 48 of 64 PageID 48



FORM NO. 353-3 - CITATION                                                                                                                    ESERVE
THE STATE OF TEXAS
                                                                                                                                           CITATION
To:      JEFFREY WEEKS
         1535 DECLARATION COVE,
         CONWAY, AR 72034                                                                                                                  DC-21-06287

GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                       BUSINESS ADVISORS MD LLC
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the expiration of                                  vs.
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition         NATURAL STATE LABORATORIES LLC, et
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this                            al
suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk. Find
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                           ISSUED THIS
                                                                                                                                      19th day of May, 2021
Said Plaintiff being BUSINESS ADVISORS MD LLC

Filed in said Court 17th day of May, 2021 against
                                                                                                                                          FELICIA PITRE
NATURAL STATE LABORATORIES LLC, et al                                                                                                  Clerk District Courts,
                                                                                                                                       Dallas County, Texas
For Suit, said suit being numbered DC-21-06287a the nature of which demand is as follows:
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition , a copy of which accompanies this citation. If
this citation is not served, it shall be returned unexecuted.
                                                                                                         “I u" H]               By: COURTNEY RUTLEDGE, Deputy




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                                                                                                      ‘3; ““E'fﬁ


                                                                                                       ﬁ
                                                                                                '4'
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.              §§_.-                     a {.3            Attorney for Plaintiff
Given under my hand and the Seal of said Court at ofﬁce this 19th day of May, 2021.       E 3;" r‘              a.
                                                                                                                     ‘2‘;              JAMIE R WELTON
                                                                                          .2;   51:                  3:5 E
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas               a?I?"            5

                                                                                                                     =§$              DUANE MORRIS LLP




                                                                                                                        '5’:
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                                                                                                 I         u “1'3.as\                100 CRESCENT COURT
                                                                                                      {'mmn “1‘11““
                                                                                                                                          SUITE 1200
                            By
                                                        E


                                                                        , Deputy
                                                                                                                                    DALLAS             TX 75201
                                 COURTNEY RUTLEDGE                                                                                         214-257-7213
                                                                                                                                    irwelton@duanemorris.com
                                                                                                                                 DALLAS COUNTY
                                                                                                                                  SERVICE FEES
                                                                                                                                      NOT PAI
                              Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                            Page 49 of 64 PageID 49




                                                                          OFFICER'S RETURN
Case No. : DC-21-06287

Court No. 14th District Court

Style: BUSINESS ADVISORS MD LLC
vs.

NATURAL STATE LABORATORIES LLC, et a1
Came to hand on the                          day of                       , 20             , at                 o'cock          .M. Executed at

within the County of                                    at                 o'clock                .M. on the                   day of

20                     , by delivering to the within named




each in person, a true copy of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.

                                For serving Citation          $

                                For mileage                   $                                   of                       County,

                                For Notary                    $                                   By                                              Deputy

                                                                  (Must be veriﬁed if served outside the State of Texas.)

Signed and sworn to by the said                                       before me this   _               day of                        , 20

to certify which witness my hand and seal of ofﬁce.



                                                                                                  Notary Public                                   County




                              REI'URN  / AFFIDAVIT
                                PROOF / ATI'ACHED
                                                                                                  FILED
                                                                                      6/17/2021 1:00 PM
                                                                                         FELICIA PITRE
  Case 3:21-cv-01451-BK Document 1 Filed 06/18/21         Page 50 of 64   PageID 50 DISTRICT CLERK
                                                                                   DALLAS CO., TEXAS
                                                                                Rosa Delacerda DEPUTY




                               CAUSE NO. DC-21-06287

 BUSINESS ADVISORS MD, LLC,                 §         IN THE DISTRICT COURT
                                            §
                                            §
      PLAINTIFF                             §
                                            §
 V.                                         §
                                            §
                                            §         DALLAS COUNTY, TEXAS
 NATURAL STATE LABORATORIES,                §
 LLC, NATURAL STATE GENOMICS,               §
 LLC, STEPHEN HARRISON,                     §
 JEFFREY WEEKS, TIMOTHY                     §
 MILLER, SHARON MILLER, JOSEPH              §
 MILLER, PROVENCE23, LLC, AND               §
 SB HOLDINGS, LLC,                          §
                                            §
      DEFENDANTS.                           §         14th DISTRICT COURT


                       DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Defendants, Natural State Laboratories, LLC (also referred to herein

as “NSL”), Natural State Genomics, LLC (also referred to herein as “NSG”), Stephen

Harrison, Jeffrey Weeks, Timothy Miller, Sharon Miller, Joseph Miller, Provence23, LLC,

and SB Holdings, LLC (all of the Defendants are collectively referred to herein as

“Defendants”) and file this their Original Answer to Plaintiff’s Original Petition, and in

support thereof, shows the Court the following:

                        I.     DISCOVERY CONTROL PLAN LEVEL

        1. Defendants do not object to Plaintiff’s designation that this case should be

           conducted as a Level 2 Discovery Control Plan case pursuant to Rule 190.3 of

           the TEXAS RULES OF CIVIL PROCEDURE.

DEFENDANTS’ ORIGINAL ANSWER                                                  Page 1 of 11
DM# 528189.3
 Case 3:21-cv-01451-BK Document 1 Filed 06/18/21            Page 51 of 64 PageID 51




                               II.    GENERAL DENIAL

     2. Defendants deny each and every allegation contained in Plaintiff’s Original

        Petition and demand that the Plaintiff prove its allegations by a preponderance

        of the evidence as provided in Rule 92 of the TEXAS RULES OF CIVIL

        PROCEDURE.

                               III.   SPECIFIC DENIALS

     3. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Timothy Miller, specifically denies that he is liable in the capacity in which he

        is sued which is as a guarantor of payment on the contract between the Plaintiff

        and Defendant NSL as alleged in Plaintiff’s action. (See attached verification

        regarding the same).

     4. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Sharon Miller, specifically denies that she is liable in the capacity in which she

        is sued which is as a guarantor of payment on the contract between the Plaintiff

        and Defendant NSL as alleged in Plaintiff’s action. (See attached verification

        regarding the same).

     5. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Joseph Miller, specifically denies that he is liable in the capacity in which he is

        sued which is as a guarantor of payment on the contract between the Plaintiff

        and Defendant NSL as alleged in Plaintiff’s action. (See attached verification

        regarding the same).

DEFENDANTS’ ORIGINAL ANSWER                                                     Page 2 of 11
DM# 528189.3
 Case 3:21-cv-01451-BK Document 1 Filed 06/18/21            Page 52 of 64 PageID 52



     6. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Provence23, LLC, specifically denies that it is liable in the capacity in which it

        is sued which is as a guarantor of payment on the contract between the Plaintiff

        and Defendant NSL and the contract between the Plaintiff and Defendant NSL

        both of which are alleged in Plaintiff’s action. (See attached verification

        regarding the same).

     7. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        SB Holdings, LLC, specifically denies that it is liable in the capacity in which it

        is sued which is as a guarantor of payment on the contract between the Plaintiff

        and Defendant NSG as alleged in Plaintiff’s action. (See attached verification

        regarding the same).

     8. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Stephen Harrison, specifically denies that he is liable in the capacity in which he

        is sued as a guarantor of payment on the contract between the Plaintiff and

        Defendant NSL as alleged in Plaintiff’s action. (See attached verification

        regarding the same).

     9. As provided in Rule 93(2) of the TEXAS RULES OF CIVIL PROCEDURE Defendant,

        Jeffrey Weeks, specifically denies that he is liable in the capacity in which he is

        sued as a guarantor of payment on the contract between the Plaintiff and

        Defendant NSL as alleged in Plaintiff’s action. (See attached verification

        regarding the same).



DEFENDANTS’ ORIGINAL ANSWER                                                     Page 3 of 11
DM# 528189.3
  Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                   Page 53 of 64 PageID 53



                                                 PRAYER

       Wherefore, premises considered, Defendants pray that Plaintiff, be denied the relief which it

has requested and that Defendants have and recover judgment against the Plaintiff and be granted such

equitable and other relief to which it may show itself to be entitled.

                                              Respectfully submitted,

                                               /s/ Thomas S. Brandon, Jr.__
                                              Thomas S. Brandon, Jr.
                                              State Bar No. 02881400
                                              tbrandon@whitakerchalk.com

                                              John Allen Chalk
                                              State Bar No. 04059400
                                              jchalk@whitakerchalk.com

                                              WHITAKER CHALK SWINDLE & SCHWARTZ PLLC
                                              301 Commerce Street, Suite 3500
                                              Fort Worth, Texas 76102-4186
                                              Telephone: 817-878-0500
                                              Facsimile: 817-878-0501

                                              ATTORNEYS FOR DEFENDANTS


                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing was served on all counsel
of record, via e-filing and via email, as provided in the TEX.R.CIV.PROC., on this 17th day of
June, 2021, namely: Jamie Welton, jrwelton@duanemorris.com, and Lucas Wohlford,
lcwohlford@duanemorris.com of DUANE MORRIS, LLP, 100 Crescent Dr., Suite 1200,
Dallas, TX 75201.

                                               /s/ Thomas S. Brandon, Jr.
                                              Thomas S. Brandon, Jr.




DEFENDANTS’ ORIGINAL ANSWER                                                           Page 4 of 11
DM# 528189.3
Case 3:21-cv-01451-BK Document 1 Filed 06/18/21              Page 54 of 64 PageID 54




                                       VERIFICATION

        I, TIMOTHY MILLER, am individually named as a Defendant in the above-entitled
 action, and I am authorized to make this verification.

       I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
 contents thereof

        The special denial in paragraph III(3) of the said Answer is true and correct based
 upon my own knowledge and understanding as did not sign or execute any guarantee
 for any debts which may be owed by NSL.




 STATE OF ARKANSAS

 COUNTY OF R)---\L\s\


        Signed and sworn to by Timothy Miller, known by me on this the 5i14day of
 June, 2021 at Lome_ r-Accu._.              , Arkansas.


                                                   OrN
                                          Notary Public in and or the State of Arkansas
 My commission expires:

  i0-




DEFENDANTS' ORIGINAL ANSWER                                                     Page 5 of 11
DM# 528189
 Case 3:21-cv-01451-BK Document 1 Filed 06/18/21               Page 55 of 64 PageID 55




                                          VERIFICATION

        1, SHARON MILLER, am individually named as a Defendant in the above-entitled
 action, and I am authorized to make this verification.

        I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
 contents thereof.

        The special denial in paragraph 111(4) of the said Answer is true and correct based
 upon my own knowledge and understanding as did not sign or execute any guarantee
 for any debts which may be owed by NSL.



                                           Sharon Miller


 STATE OF ARI3NSAS

 COUNTY OF        U,QP1.4kAl §

         Signed and sworn to y Sharon Miller, known by me on this the ( day of June,
2021 at            L440t?,   btL.. Arkansas.
                                      ,




                                              (14,;W
                                           Notary blic in and for the State of     ansas
My commission expires:
                D,c) Acg




DEFENDANTS' ORIGINAL ANSWER                                                      Page 6 of ii
Drvii4 528189
 Case 3:21-cv-01451-BK Document 1 Filed 06/18/21              Page 56 of 64 PageID 56




                                       VERIFICATION


       I, JOSEPH MILLER, am individually named as a Defendant in the above-entitled
action, and I am authorized to make this verification.

      I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
contents thereof.

       The special denial in paragraph III(5) of the said Answer is true and correct based
upon my own knowledge and understanding as did not sign or execute any guarantee
for any debts which may be owed by NSL.



                                         Jose      'ller
STATE OF             SAS

COUNTY OF


            d nd s rn to by Joseph Miller, known by me on this the 15114ay of June,
2021 a                                 Arkansas.


                                           .1                MI
                                                             ,

                                                                    e State of Arkansas
My commission expires:




DEFENDANTS' ORIGINAL ANSWER                                                    Page 7 of 11
DM# 528189
Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                                Page 57 of 64 PageID 57




                                                      VERIFICATION


      PROVENCE23, LLC, is named as a Defendant in the above-entitled action, and I
am authorized as the officer of the said Defendant to make this verification on its behalf.

      I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
contents thereof.

      The special denial in paragraph III(6) of the said Answer is true and correct based
upon my own knowledge and understanding that neither PROVENCE 23, LLC nor
anyone on behalf of the Defendant signed or executed any guarantee for any debts which
may be owed by NSL.


                                                        PROVENCE23, LLC




                                                        By:      Seabom Bell
                                                        Its: -141.               C.A)T44x,......t                    LL   e_
                                                                                           s tAitswK.su            Lt. e
STATE OF ARKANSAS
                 _                               §
COUNTY OF -1-)Lj                                 §


             Signed and sworn to by Seaborn Bell, known by me on this the 15 -ity of June,
2021 at                                    ck.       , Arkansa



                 -----
                                                        Notary ubli in and for the State of Arkansas
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DEFENDANTS' ORIGINAL ANSWER                                                                         Page 8 of 11
DM# 528189
Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                Page 58 of 64 PageID 58




                                         VERIFICATION

      SB HOLDINGS, LLC, is named as a Defendant in the above-entitled action, and I
am authorized as the officer of the said Defendant to make this verification on its behalf.

      I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
contents thereof

      The special denial in paragraph II1(7) of the said Answer is true and correct based
upon my own knowledge and understanding that neither SB HOLDINGS, LLC nor
anyone on behalf of the Defendant signed or executed any guarantee for any debts which
may be owed by NSG.

                                           SB HOLDINGS, LLC




                                           By:    Seaborn Be
                                           Its:      "")1/1

STATE OF ARKANSAS
                                   §
COUNTY OF —putt/us,                §


            Signed and sworn to by Seaborn Bell, known by me on this the leaay of June,
2021 at Azdifika p                      , Arkan


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   •        PUBLIC
     60 MM. Expires
Vt •...8--26-201g
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            ......   ".



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        ............ ...




DEFENDANTS' ORIGINAL ANSWER                                                     Page 9 of 11
DM# 528189
Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                     Page 59 of 64 PageID 59




                                        VERIFICATION

         I, STEPHEN HARRISON, am individually named as a Defendant in the above-
 entitled action, and I am authorized to make this verification.

        I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
 contents thereof.

        The special denial in paragraph III(8) of the said Answer is true and correct based
 upon my own knowledge and understanding as did not sign or execute any guarantee
 for any debts which may be owed by NSG.

                                                          71/-
                                                            A.oviv;-1,
                                          Step en Harrison

STATE OF ARKANSAS
                                   §
COUNTY OF 444.4/


       Signed and sworn to by Stephen Harrison, known by me on this the /5% of
June, 2021 at I...   71 z-/-e )&c/c A< Arkansas.
                       -7




                                          Notary Public in and for the State of Arkansas
My commission expires:

 C95-
                                                   sfoRk.,„.        LAURIE PERRY
                                                      •• ••
                                                       ■       MY COILMISS1ON #12370174
                                                    VLIBUC :
                                                                EXPIRES March 3, 2029
                                                    ;f1,140         Pulasld County




DEFENDANTS' ORIGINAL ANSWER                                                          Page 10 of 11
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                                                  VERIFICATION

       I, JEFFREY WEEKS, am individually named as a Defendant in the above-entitled
action, and I am authorized to make this verification.

      I have read the foregoing DEFENDANT'S ORIGINAL ANSWER and know the
contents thereof

       The special denial in paragraph III(9) of the said Answer is true and correct based
upon my own knowledge and understanding as did not sign or execute any guarantee
for any debts which may be owed by NSL.



                                                    Jeffrey-W-ieks
                                                    -

STATE OF ARKANSAS
                                        /.   §
COUNTY OF


                                                                      /
         Signed and sworn to by Jeffrey Weeks, known by me on this the '         '        of June,
2021 at /1, 5                        cvg         , Arkansas.


                                                                           1/?
                                                    Notary Public in and fr the Stateck Arkansas
My commission expires:



           SHELIA MUREERGEFI
          HOT SPRING COUNTY
       NOTARY PUBLIC - ARKANSAS
   My Commission Expires November 20, 2025
         Commission No. 12695916




DEFENDANTS' ORIGINAL ANSWER                                                            Page 11 of 11
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Thomas Brandon on behalf of Thomas Brandon
Bar No. 02881400
tbrandon@whitakerchalk.com
Envelope ID: 54520066
Status as of 6/18/2021 12:02 PM CST

Associated Case Party: NATURAL STATE LABORATORIES LLC

Name                    BarNumber     Email                        TimestampSubmitted      Status

Thomas S.Brandon, Jr.                 tbrandon@whitakerchalk.com 6/17/2021 1:00:22 PM      SENT

John AllenChalk                       jchalk@whitakerchalk.com     6/17/2021 1:00:22 PM    SENT

Kimberly J.Krueger                    kkrueger@whitakerchalk.com   6/17/2021 1:00:22 PM    SENT



Case Contacts

Name              BarNumber   Email                        TimestampSubmitted     Status

JAMIE WELTON                  jrwekton@duanemorris.com 6/17/2021 1:00:22 PM       ERROR
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  CERTIFICATE OF
    INTERESTED
      PERSONS
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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Business Advisors MD, LLC
Plaintiff
v.                                                             3:21-cv-1451
                                                               Civil Action No.
Natural State Laboratories, LLC, et.al.
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Defendants, Natural State Laboratories, LLC, Natural State Genomics, LLC, Stephen Harrison,
Jeffrey Weeks, Timothy Miller, Sharon Miller, Joseph Miller, Provence23, LLC, and SB
Holdings, LLC

provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Defendants, Natural State Laboratories, LLC, Natural State Genomics, LLC, Stephen Harrison,
 Jeffrey Weeks, Provence23, LLC, SB Holdings, LLC, Timothy Miller, Sharon Miller, and
 Joseph Miller, as well as non-defendant,Whisenhut Investments, LLC which is the sole member
 of Provence23, LLC
            Case 3:21-cv-01451-BK Document 1 Filed 06/18/21                           Page 64 of 64 PageID 64




                                                              Date:                     e 18, 2021
                                                              Signature:
                                                              Print Name:
                                                                                    Thomas S. Brandon, Jr.
                                                              Bar Number:           02881400
                                                              Address:              301 Commerce St., Ste. 3500
                                                              City, State, Zip:     Fort Worth, Texas 76102
                                                              Telephone:            817-878-0532
                                                              Fax:
                                                                                    817-878-0500
                                                              E-Mail:               tbrandonwhitakerchalk.com




NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
